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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY
  UNITED STATES OF AMERICA                 Hon. StanLey B. Chesler
                                           Crira. Nc. 09-501
             v.
                                           CONTINUANCE ORDER
  PETER VENTflCELLI


            This matter having come before the Court
                                                      on the oint
  application of Paul 3. Pishnan, Onited State
                                               s Attorney for the
 District of New Jersey (by Leslie Faye Schwartz,
                                                    Assistant U.S.
 Attorney), and Peter Ventricefli (by Arth
                                           ur J.Abrams, Esq.) for
 an order granting a continuance of the proc
                                             eedir.gs in the above—
 captioned matter, and the defendant being
                                            aware that he has a
 right to have the matter brought to trial
                                            within 70 days of the
 date of his appearance before a judicial offi
                                               cer of this court
 pursuant to Title 18 of the United States
                                            Code, Section
 3161(c) CI), and as the defendant has consented
                                                 to an additional
 continuance, and for good and sufficient caus
                                               e shown,
          IT IS THE FINDING CF THIS COtIRT that this
                                                     action should
be continued for the following reasons:

            1.    Defendant Peter Ventricefli has recently
                                                           changed
counsel and new counsel requires sufficie
                                         nt time to review the
discovery and investigate the charges in this
                                              matter, file
motions, and prepare for trial;

           2.     The defendant has consented to the aforenent
                                                               ioned
continuance; and
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              3.   Pursuant to Title 18 of the United States Code,

  Section 3161(h) (7Ha),      the ends of justice served by granting the

  ccrLtinuanoe outweigh the best interests of the public and the

  defendant in a speedy trial.

             WHEREFORE,    on this     i.        day of March 2010,

              IT IS ORDERED that defendant’s additional motions,             if

  any,   are due to be filed on or before March 15,           2010;

              IT IS FURTHER ORDERED that te governinent’s response to

  defendant’s additional motions,        if any,   is due to be filed on or

  before March 26,    2010;

              IT IS FURTHER ORDERED that the motions will e set down

  for consideration on April 5,        201D,   without oral argument unless

  ordered by the Court;

              IT   :s FURTHER ORDERED that the trial in this matter is
  set for April 12,      2010 at 10:00 arn;      and

              IT IS FDRCHER ORDERED that the period from £6arch 15,

  201D through April 13,      2010,   shall be excludable in computing

  time under the Speedy Trial Act Of 1974,             pursuant to Title 18,

  United States Code,     Section 3161(h) (7).




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                                                   States D      i
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